           Case 2:10-cr-00305-MCE Document 46 Filed 12/08/11 Page 1 of 3


1           LAW OFFICES OF
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                     441-4888
                State Bar #063214
4

5    ATTORNEYS FOR:           Defendant Shirazi
6

7

8                                    IN THE UNITED STATES DISTRICT COURT

9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                        No.     2:10 Cr. 305 LKK
11    UNITED STATES OF AMERICA

12                                     Plaintiff,       STIPULATION AND ORDER FOR
                                                        CONTUANCE OF STATUS
13         v.                                           CONFRENCE

14                                                      DATE: January 24, 2012
      SIAVASH POURSARTIP, et. al
                     Defendants,                        TIME: 9:15 am
15

16

17
            It is hereby stipulated and agreed by and between the United States of America, on
18
     the one hand, and defendants, Siavash Poursartip, and Sara Shirazi, on the other hand,
19
     through their respective attorneys, that the status conference in the above-entitled matter set
20
     for Tuesday December 13, 2011, shall be continued to Tuesday, January 24, 2012 at 9:15 a.m.
21
            The parties further stipulate and agree that the time period from the date of this
22
     stipulation up to and including the new status conference date of January 24, 2012, shall
23
     be excluded from computation of the time for commencement of trial under the Speedy
24
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2
25
     (unusual or complex case) and T4 (preparation by prosecution and defense counsel).
26
            The parties note that the indictment contains ten counts and a forfeiture allegation, that the
27
     acts alleged in the indictment span from 2004 through 2009 and that the discovery is quite
28
     voluminous and that there is a substantial amount of electronic evidence that is required to be

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                        Case 2:10-cr-00305-MCE Document 46 Filed 12/08/11 Page 2 of 3


              1
                  analyzed by a forensic expert before the defense can even access those electronic files. This has
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                  become a more difficult task than anticipated and, as a result, the defense needs further time to
              3
                  review and investigate those items found in this evidence.
              4
                         Based upon these facts, the parties stipulate and agree that it is unreasonable to expect
              5
                  adequate preparation for pretrial proceedings and trial itself within the time limits established in §
              6
                  3161, the case is unusual or complex within the meaning of the Speedy Trial Act, and the requested
              7
                  continuance is necessary to serve the ends of justice and to provide both the prosecution and defense
              8
                  counsel reasonable time necessary for effective preparation, taking into account the exercise of due
              9
                  diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(ii) and (iv). Specifically, each defendant agrees that his
            10
                  or her counsel needs additional time to review the discovery that has been provided, to effectively
            11
                  evaluate the case and to prepare for trial. See id. Additionally, the parties hereby stipulate that this
            12
                  case is unusual and complex such that it is unreasonable to expect adequate preparation for
            13
                  pretrial proceedings or for a potential trial within the time limits established by the Speedy
            14
                  Trial Act.
            15
                         For the above reasons, the defendants, defense counsel and the government stipulate
            16
                  and agree that the interests of justice served by granting this continuance outweigh the best interests
            17
                  of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(ii), [Local Code T2]; 18
            18
                  U.S.C.§ 3161(h)(7)(B)(iv) [Local Code T4].
            19
            20
                         Dated: December 6, 2011
            21                                                                   BENJAMIN B. WAGNER
                                                                                 UNITED STATES ATTORNEY
            22

            23                                                                   By:/s/Russell L. Carlberg
                                                                                 RUSSELL L. CARLBERG
            24                                                                   Assistant U. S. Attorney
                                                                                 (per email authorization)
            25
                         Dated: December 6, 2011                                 /s/Christopher H. Wing
            26                                                                   CHRISTOPHER H. WING
            27                                                                   Attorney for Defendant SARA SHIRAZI

            28
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                        Case 2:10-cr-00305-MCE Document 46 Filed 12/08/11 Page 3 of 3


              1
                         Dated: December 6, 2011
              2                                                                 /s/ Richard Pachter_________
                                                                                RICHARD PACHTER
              3                                                                 Attorney for Defendant SIAVASH
              4                                                                 POURSARTIP
                                                                                (per email authorization)
              5

              6                                                   ORDER
              7          The Court, having received, read and considered the stipulation of the parties, and good cause
              8   appearing therein, adopts the stipulation of the parties in its entirety as its order. Based upon the
              9   stipulation of the parties, the Court finds that it is unreasonable to expect adequate preparation for
            10    pretrial proceedings and trial itself within the time limits established in 18 U.S.C. § 3161 and that the
            11    case is unusual and complex within the meaning of the Speedy Trial Act. The Court specifically
            12    finds that the interests of justice served by granting this continuance outweigh the best interests of
            13    the public and the defendants in a speedy trial. The Court also finds that the requested continuance is
            14           necessary to provide both the prosecution and the defense counsel reasonable time necessary
            15    for effective preparation, taking into account the exercise of due diligence. It is ordered that the time
            16    from the date of the parties’ stipulation to and including Jauary 24, 2012 shall be excluded from
            17    computation of time within which the trial of this case must be commenced under the Speedy Trial
            18    Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (ii) and (iv) and Local Codes T2 (unusual and
            19    complex case) and T4 (preparation by both prosecution and defense counsel.)
            20           It is further ordered that the status conference in the above-entitled matter set
            21    for December 13, 2011 shall be continued to January 24, 2012 at 9:15 am.
            22           IT IS SO ORDERED.
            23

            24    Dated: December 6, 2011
            25

            26

            27

            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
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